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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )
               Plaintiff,                    )      ORDER
                                             )
       vs.                                   )
                                             )
Richard Cole Hosie, a/k/a “Spanky,”          )      Case No. 1:17-cr-009
                                             )
               Defendant.                    )


       On February 21, 2017, defendant filed notice of substitution of counsel. Therein he advises

that he has retained attorney Lloyd Suhr. Accordingly, attorney Lloyd Suhr shall be substituted as

counsel of record for defendant. Defendant’s court-appointed counsel, Bobbi L. Brown Weiler, is

authorized to withdraw.

       IT IS SO ORDERED.

       Dated this 22nd day of February, 2017.

                                                    /s/ Charles S. Miller, Jr.
                                                    Charles S. Miller, Jr., Magistrate Judge
                                                    United States District Court
